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PROB 12A
(6/21)

                               United States District Court
                                           for
                                 District of New Jersey
                         Report on Individual Under Supervision
his
Name of Individual Under Supervision: James A Cardinali                                Cr.: 17-00286-001
                                                                                      PACTS #: 3775193

Name of Sentencing Judicial Officer:    THE HONORABLE JOHN MICHAEL VAZQUEZ
                                        UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 10/09/2018

Original Offense:   Conspiracy to Defraud the United States, 18 U.S.C. § 371

Original Sentence: 366 days imprisonment, 36 months supervised release

Special Conditions: $100 - Special Assessment, $166,255 - Restitution, Financial Disclosure, and New
Debt Restrictions

Type of Supervision: Supervised Release                         Date Supervision Commenced: 07/24/2019

                                 NONCOMPLIANCE SUMMARY

The individual under supervision has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance

 1                   Failure to satisfy financial obligations

U.S. Probation Officer Action:

Throughout his term of supervised release, Cardinali has paid $6,650 towards his restitution. The
individual under supervision’s term of supervision is due to expire on July 23, 2022, with an outstanding
restitution balance of $112,369. The Financial Litigation Unit of the United States Attorney's Office was
notified of the expiration of supervision and has a standing order for garnishment of the person under
supervision's earnings and all future income tax refunds via the Treasury Offset Program (TOP). This
Office recommends the supervision term be allowed to expire as scheduled since the restitution order
remains imposed as a final judgment, pursuant to Title 18, U.S.C., Sections 3554 & 3613.

                                                          Respectfully submitted,

                                                          SUSAN M. SMALLEY, Chief
                                                          U.S. Probation Officer

                                                          Elisa Martinez

                                                          By:   ELISA MARTINEZ
                                                                Supervising U.S. Probation Officer
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                                                                                          James A Cardinali

/ bgm

PREPARED BY:

Brendan G. Murillo                   05/24/2022
BRENDAN G. MURILLO                      Date
U.S. Probation Technician

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

; Allow Supervision to Expire as Scheduled on July 23, 2022 (as recommended by the Probation Office)

   Submit a Request for Modifying the Conditions or Term of Supervision
   Submit a Request for Warrant or Summons
   Other



                                                                 Signature of Judic
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